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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    CHRISTA BURCH,                                    §
                                                      §
                   Plaintiff,                         §
                                                      §
    v.                                                §        Civil Action No. 4:24-cv-01798
                                                      §
    FAY SERVICING, LLC,                               §
                                                      §
                   Defendant.
                                                      §


                                  JOINT NOTICE OF SETTLEMENT


           Plaintiff Christa Burch (“Burch”) and Defendant Fay Servicing, LLC (“Fay”) (collectively,

the “Parties”) hereby file this Joint Notice of Settlement and respectfully show the Court as

follows:

           The Parties have reached a settlement in principle regarding the claims and causes of action

asserted in the above-reference-and-numbered cause. The Parties fully expect to present dismissal

papers to the Court within thirty (30) days. The Parties respectfully request that the Court remove

the above-captioned-and-numbered lawsuit from the Court’s August 1, 2024 Initial Pretrial and

Scheduling Conference1 setting and stay any pretrial deadlines, including Fay’s June 24, 2024

deadline to answer or otherwise respond to Burch’s Complaint and the Parties’ July 18, 2024

deadline to file the Joint Discovery/Case-Management Plan and the proposed Joint Scheduling and

Docket Control Order.




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    Doc. No. 5.




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                                    Respectfully submitted,

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                                    FAY SERVICING, LLC

                                    -AND-




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                                             /s/Erick DeLaRue with permission
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                                             COUNSEL FOR PLAINTIFF
                                             CHRISTA BURCH



                                CERTIFICATE OF SERVICE

       The undersigned certifies that, on June 24, 2024, a true and correct copy of the foregoing
document was delivered to the following counsel of record via CM/ECF, email, and/or CMRRR
consistent with the Federal Rules of Civil Procedure.

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                                             /s/ Helen O. Turner
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